Exhibit A




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B256 (Form 256 – Subpoena to Testify at a Deposition in a Bankruptcy Case or Adversary Proceeding) (12/13)


                                       UNITED STATES BANKRUPTCY COURT
                                                         Delaware
  _________________________________________ District of _________________________________________
       LSC Wind Down, LLC, et al.
In re __________________________________________
                                     Debtors                                                     17-10124 (KBO)
                                                                                      Case No. _____________________
 UMB Bank, N.A., as Plan Trustee of the
 Limited Creditors' Liquidating Trust                                                          11
                                                                                      Chapter ___________
_________________________________________
                                    Plaintiff
                                        v.                                                            19-50272 (KBO)
                                                                                      Adv. Proc. No. ________________
 Sun Capital Partners V, LP, et al.
__________________________________________
                                   Defendant

                                         SUBPOENA TO TESTIFY AT A DEPOSITION
                                  IN A BANKRUPTCY CASE (OR ADVERSARY PROCEEDING)

        KPMG LLP
  To: ________________________________________________________________________________________
                                   (Name of person to whom the subpoena is directed)

   x Testimony: YOU ARE COMMANDED to appear at the time, date, and place set forth below to testify at a deposition to
  be taken in this bankruptcy case (or adversary proceeding). If you are an organization, you must designate one or more
  officers, directors, or managing agents, or designate other persons who consent to testify on your behalf about the following
  matters, or those set forth in an attachment: See Schedule A attached.

  PLACE This deposition will be conducted remotely via Veritext Legal Solutions                              DATE AND TIME
             pursuant to the attached Stipulation and Order Concerning Protocol for                          May 13, 2021, at 9:00 a.m. (CT), or such other
             Conducting Remote Depositions.                                                                  mutually agreed date and time.

 The deposition will be recorded by this method: The deposition will be recorded via stenographic means and videotaped.

     Production: You, or your representatives, must also bring with you to the deposition the following documents,
  electronically stored information, or objects, and must permit inspection, copying, testing, or sampling of the material:


          The following provisions of Fed. R. Civ. P. 45, made applicable in bankruptcy cases by Fed. R. Bankr. P. 9016, are
  attached – Rule 45(c), relating to the place of compliance; Rule 45(d), relating to your protection as a person subject to a
  subpoena; and Rule 45(e) and 45(g), relating to your duty to respond to this subpoena and the potential consequences of not
  doing so.

  Date: 04/22/2021
                                     CLERK OF COURT

                                                                                     OR
                                     ________________________                                 /s/ Matthew O. Talmo
                                                                                             ________________________
                                     Signature of Clerk or Deputy Clerk                           Attorney’s signature

  The name, address, email address, and telephone number of the attorney representing (name of party) Sun Capital Partners V,
  LP, et al., who issues or requests this subpoena, is:
  Matthew O. Talmo, 1201 N. Market St., 16th Floor, Wilmington, DE 19801 (Email: mtalmo@morrisnichols.com;
  Tel: 302-351-9471)
                                   Notice to the person who issues or requests this subpoena
  If this subpoena commands the production of documents, electronically stored information, or tangible things, or the
  inspection of premises before trial, a notice and a copy of this subpoena must be served on each party before it is served on
  the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
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                            Federal Rule of Civil Procedure 45(c), (d), (e), and (g) (Effective 12/1/13)
                        (made applicable in bankruptcy cases by Rule 9016, Federal Rules of Bankruptcy Procedure)

(c) Place of compliance.                                                                     (ii) disclosing an unretained expert's opinion or information that does
                                                                                       not describe specific occurrences in dispute and results from the expert's
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                    study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                          (C) Specifying Conditions as an Alternative. In the circumstances
    (A) within 100 miles of where the person resides, is employed, or                  described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                             modifying a subpoena, order appearance or production under specified
    (B) within the state where the person resides, is employed, or regularly           conditions if the serving party:
transacts business in person, if the person                                                   (i) shows a substantial need for the testimony or material that cannot
      (i) is a party or a party’s officer; or                                          be otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial                     (ii) ensures that the subpoenaed person will be reasonably
expense.                                                                               compensated.

  (2) For Other Discovery. A subpoena may command:                                     (e) Duties in Responding to a Subpoena.
    (A) production of documents, or electronically stored information, or
things at a place within 100 miles of where the person resides, is employed,             (1) Producing Documents or Electronically Stored Information. These
or regularly transacts business in person; and                                         procedures apply to producing documents or electronically stored
    (B) inspection of premises, at the premises to be inspected.                       information:
                                                                                           (A) Documents. A person responding to a subpoena to produce
(d) Protecting a Person Subject to a Subpoena; Enforcement.
                                                                                       documents must produce them as they are kept in the ordinary course of
                                                                                       business or must organize and label them to correspond to the categories in
      (1) Avoiding Undue Burden or Expense; Sanctions. A party or
                                                                                       the demand.
attorney responsible for issuing and serving a subpoena must take
                                                                                           (B) Form for Producing Electronically Stored Information Not
reasonable steps to avoid imposing undue burden or expense on a person
                                                                                       Specified. If a subpoena does not specify a form for producing
subject to the subpoena. The court for the district where compliance is
                                                                                       electronically stored information, the person responding must produce it in
required must enforce this duty and impose an appropriate sanction —
                                                                                       a form or forms in which it is ordinarily maintained or in a reasonably
which may include lost earnings and reasonable attorney's fees — on a
                                                                                       usable form or forms.
party or attorney who fails to comply.
                                                                                           (C) Electronically Stored Information Produced in Only One Form. The
                                                                                       person responding need not produce the same electronically stored
  (2) Command to Produce Materials or Permit Inspection.
                                                                                       information in more than one form.
    (A) Appearance Not Required. A person commanded to produce
                                                                                           (D) Inaccessible Electronically Stored Information. The person
documents, electronically stored information, or tangible things, or to
                                                                                       responding need not provide discovery of electronically stored information
permit the inspection of premises, need not appear in person at the place of
                                                                                       from sources that the person identifies as not reasonably accessible because
production or inspection unless also commanded to appear for a deposition,
                                                                                       of undue burden or cost. On motion to compel discovery or for a protective
hearing, or trial.
                                                                                       order, the person responding must show that the information is not
    (B) Objections. A person commanded to produce documents or tangible
                                                                                       reasonably accessible because of undue burden or cost. If that showing is
things or to permit inspection may serve on the party or attorney designated
                                                                                       made, the court may nonetheless order discovery from such sources if the
in the subpoena a written objection to inspecting, copying, testing or
                                                                                       requesting party shows good cause, considering the limitations of Rule
sampling any or all of the materials or to inspecting the premises — or to
                                                                                       26(b)(2)(C). The court may specify conditions for the discovery.
producing electronically stored information in the form or forms requested.
The objection must be served before the earlier of the time specified for
                                                                                          (2) Claiming Privilege or Protection.
compliance or 14 days after the subpoena is served. If an objection is made,
                                                                                            (A) Information Withheld. A person withholding subpoenaed
the following rules apply:
                                                                                       information under a claim that it is privileged or subject to protection as
      (i) At any time, on notice to the commanded person, the serving party
                                                                                       trial-preparation material must:
may move the court for the district where compliance is required for an
                                                                                              (i) expressly make the claim; and
order compelling production or inspection.
                                                                                              (ii) describe the nature of the withheld documents, communications,
      (ii) These acts may be required only as directed in the order, and the
                                                                                       or tangible things in a manner that, without revealing information itself
order must protect a person who is neither a party nor a party's officer from
                                                                                       privileged or protected, will enable the parties to assess the claim.
significant expense resulting from compliance.
                                                                                            (B) Information Produced. If information produced in response to a
                                                                                       subpoena is subject to a claim of privilege or of protection as trial-
  (3) Quashing or Modifying a Subpoena.
                                                                                       preparation material, the person making the claim may notify any party that
    (A) When Required. On timely motion, the court for the district where
                                                                                       received the information of the claim and the basis for it. After being
compliance is required must quash or modify a subpoena that:
                                                                                       notified, a party must promptly return, sequester, or destroy the specified
      (i) fails to allow a reasonable time to comply;
                                                                                       information and any copies it has; must not use or disclose the information
      (ii) requires a person to comply beyond the geographical limits
                                                                                       until the claim is resolved; must take reasonable steps to retrieve the
specified in Rule 45(c);
                                                                                       information if the party disclosed it before being notified; and may
      (iii) requires disclosure of privileged or other protected matter, if no
                                                                                       promptly present the information under seal to the court for the district
exception or waiver applies; or
                                                                                       where compliance is required for a determination of the claim. The person
      (iv) subjects a person to undue burden.
                                                                                       who produced the information must preserve the information until the claim
    (B) When Permitted. To protect a person subject to or affected by a
                                                                                       is resolved.
subpoena, the court for the district where compliance is required may, on
                                                                                       …
motion, quash or modify the subpoena if it requires:
                                                                                       (g) Contempt. The court for the district where compliance is required – and
      (i) disclosing a trade secret or other confidential research,
                                                                                       also, after a motion is transferred, the issuing court – may hold in contempt
development, or commercial information; or
                                                                                       a person who, having been served, fails without adequate excuse to obey
                                                                                       the subpoena or an order related to it.


                                          For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013)
                                          SCHEDULE A

                                          DEFINITIONS

       1.     “Dividend” means the dividend issued by the Limited to its shareholders on

December 20, 2011.

       2.     “KPMG” means the auditing firm of KPMG LLP, which was retained by the

Limited to complete audit services.

       3.     “The Limited” means the Limited Stores, LLC and any of its subsidiaries which

were consolidated in The Limited's audited financial statements.

       4.     “You” and “Your” means any agents or employees of KPMG acting on behalf of

KPMG.

                               TOPICS FOR EXAMINATION

       1.     Your audit work in connection with The Limited’s 2011, 2012, 2013, 2014, and

2015 consolidated financial statements.

       2.     The Generally Accepted Accounting Standards employed by You to audit The

Limited’s consolidated financial statements for years 2011-2015.

       3.     Your audit work examining the Dividend in connection with its audit of The

Limited’s 2011 consolidated financial statements.

       4.     Your obligation under Generally Accepted Accounting Standards to comment, if

appropriate, on The Limited’s ability to operate as a going concern in connection with Your audit

of The Limited’s 2011-2015 consolidated financial statements.

       5.     Your obligation under Generally Accepted Accounting Standards to comment, if

appropriate, on any weaknesses with The Limited’s internal auditing controls aimed at

preventing fraud, controlling risk, identifying financial issues, preventing waste, operating
efficiently, generating timely and reliable reporting, measuring progress towards business

objectives and goals, and complying with applicable laws and regulations.




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                  IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE DISTRICT OF DELAWARE
____________________________________________
                                             :
In re:                                       :   Chapter 11
                                             :
LSC WIND DOWN, LLC, et al.,1                 :   Case No. 17-10124 (KBO)
                                             :
       Debtors.                              :   (Jointly Administered)
____________________________________________ :
                                             :
UMB BANK, N.A., as Plan Trustee of           :
The Limited Creditors’ Liquidating Trust,    :   Adversary Proceeding
                                             :   No. 19-50272 (KBO)
       Plaintiff,                            :
                                             :
v.                                           :
                                             :
SUN CAPITAL PARTNERS V, LP,                  :
SUN MOD FASHIONS IV, LLC,                    :
SUN MOD FASHIONS V, LLC, and                 :
H.I.G. SUN PARTNERS, LLC,                    :
                                             :
       Defendants.                           :
____________________________________________ :

                           STIPULATION CONCERNING PROTOCOL
                          FOR CONDUCTING REMOTE DEPOSITIONS

        Plaintiff and Defendants (collectively, the “Parties”) jointly stipulate to the following

protocol for conducting remote depositions via videoconference in the above-captioned matter,

pursuant to Federal Rule of Civil Procedure 30(b)(3)(4):

        1.       Given the ongoing COVID-19 pandemic, depositions in this proceeding may be

conducted remotely using videoconference technology. The Parties agree that these remote

depositions may be used at a trial or hearing to the same extent that an in-person deposition may

be used at trial or hearing, and the Parties agree not to object to the use of these depositions on the


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  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: LSC Wind Down, LLC (f/k/a Limited Stores Company, LLC (6463); LS Wind Down, LLC (f/k/a
Limited Stores, LLC) (0165); and TLSGC Wind Down, LLC (f/k/a The Limited Stores GC, LLC) (6094).
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basis that the depositions was taken remotely. The Parties reserve all other objections to the use

of any deposition testimony at trial or hearing.

       2.      The Parties agree to use Veritext Legal Solutions (“Veritext”) for videoconference

and court reporting services for these remote depositions.          The Parties agree that Veritext

employees or other representatives may attend the remote depositions to serve as court reporters,

to serve as videographers, to troubleshoot any technological issues that may arise, and to

administer the virtual breakout rooms.

       3.      The deponent, court reporter, videographer, and counsel for the Parties shall each

participate in these depositions remotely and separately. Each person participating in or otherwise

attending a deposition shall be visible to all other participants, shall be audible to all participants,

and shall strive to ensure that the surrounding environment is free from noise and distractions.

       4.      The remote depositions shall be subject to Local Rule 7030-1, including the

following prohibition in subsection (d):

       From the commencement until the conclusion of deposition questioning by an
       opposing party, including any recesses or continuances thereof of less than five (5)
       calendar days, counsel for the deponent shall not consult or confer with the
       deponent regarding the substance of the testimony already given or anticipated to
       be given, except for the purpose of conferring on whether to assert a privilege
       against testifying or on how to comply with a court order.

Similarly, no counsel shall initiate a private communication, including through text message,

electronic mail, or the chat feature in the videoconferencing system, with any deponent in the

remote deposition while a question is pending, except for the purpose of conferring on whether to

assert a privilege against testifying or on how to comply with a court order.

       5.      Further, from the commencement until the conclusion of deposition questioning by

an opposing party, including any recesses or continuances thereof of less than five (5) calendar

days, no deponent shall engage in a private communication, including through text message,

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electronic mail, or the chat feature in the videoconferencing system, with any person regarding the

substance of the testimony or matters related thereto, except as otherwise expressly provided

herein.

          6.   During breaks in the remote deposition, the Parties may use the breakout room

feature provided by Veritext, which simulates a live breakout room through videoconference.

Conversations in the breakout rooms shall not be recorded. The breakout rooms shall be

established by Veritext prior to the remote deposition and shall be controlled by Veritext during

the remote deposition.

          7.   The remote depositions shall be recorded by stenographic means consistent with

the requirements of Federal Rule of Civil Procedure 30(b)(3), but given the COVID-19 pandemic,

the court reporter shall not be physically present with the witness whose deposition is being taken.

The Parties agree not to challenge the validity of any oath administered by the court reporter, even

if the court reporter is not a notary public in the state where the deponent resides.

          8.   The Parties agree that the court reporter is an “Officer” as defined by Federal Rule

of Civil Procedure 28(a)(2) and shall be permitted to administer the oath to the deponent via video

conference. Prior to taking the oath, the deponent shall be required to provide government-issued

identification satisfactory to the court reporter, and this identification shall be visible and legible

to the other participants in the remote deposition.

          9.   The court reporter shall stenographically record the deponent’s testimony, and the

court reporter’s written transcript shall constitute the official record. A videographer may also

record the deponent’s testimony by video at the election of either party and at that party’s expense.

The court reporter may be given a copy of the video recording and may review the video recording

to improve the accuracy of the court reporter’s written transcript.



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       10.     The party that noticed the remote deposition shall be responsible for procuring a

written transcript and/or video record of the deposition. The other parties shall bear their own

costs in obtaining a transcript and/or video record of the remote deposition.

       11.     The party that noticed the remote deposition shall provide Veritext with a copy of

this Joint Stipulation and Order at least 72 hours in advance of the deposition.

       12.     The Parties agree to work collaboratively and in good faith with Veritext to assess

each deponent’s technological abilities and to troubleshoot any issues at least 48 in advance of the

deposition so any adjustments can be made. The Parties also agree to work collaboratively and in

good faith to address and troubleshoot technological issues that arise during a remote deposition

and make such provisions as are reasonable under the circumstances to address such issues. This

provision shall not be interpreted to compel any party to proceed with a deposition where the

deponent cannot hear or understand the other participants or where the participants cannot hear or

understand the deponent.

       13.     Every deponent shall endeavor to have technology sufficient to appear for a remote

deposition (e.g., a webcam and computer or telephone audio), and internet bandwidth sufficient to

sustain the remote deposition. Counsel for each deponent shall consult with the deponent prior to

the remote deposition to ensure that the deponent has the required technology. If not, counsel for

the deponent shall endeavor to supply the required technology to the deponent prior to the remote

deposition. In the case of non-party witnesses, the party noticing the deposition shall supply any

necessary technology that the deponent does not have.

       14.     The Parties agree that this Joint Stipulation and Order applies to remote depositions

of non-parties under Federal Rule of Civil Procedure 45 and shall work in a collaborative and

good-faith manner in attempting to schedule remote depositions of non-party witnesses. The party



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noticing any non-party deposition shall provide a copy of this Joint Stipulation and Order to

counsel for the non-party witness at least 7 days prior to the remote deposition.

       15.     The Parties agree that any of the following methods (or any combination thereof)

for administering exhibits may be employed during a remote deposition:

       (a)     Counsel noticing the deposition may choose to mail physical copies of documents

               that may be used during the deposition to the deponent, the deponent’s counsel, the

               other party’s counsel, and the court reporter. In that event, noticing counsel shall

               so inform the deponent’s counsel, the other party’s counsel, and the court reporter

               prior to mailing the documents and shall provide tracking information for the

               package. Such documents shall be delivered by 12:00 pm ET the business day

               before the deposition. Counsel for the deponent, the other party’s counsel, and the

               court reporter shall confirm receipt of the package by electronic mail to counsel

               noticing the deposition. If physical copies are mailed, every recipient of a mailed

               package shall keep the package sealed until the deposition begins and shall only

               unseal the package on the record, on video, and during the deposition when directed

               to do so by the counsel taking the deposition. This same procedure shall apply to

               any physical copies of documents any other counsel intends to use for examining

               the witness.

       (b)     Counsel noticing the deposition may choose to send a compressed .zip file of the

               documents that may be used during the deposition via electronic mail to the

               deponent, the deponent’s counsel, the other party’s counsel, and the court reporter.

               The .zip file shall be delivered by 12:00 pm ET the business day before the

               deposition. Counsel for the deponent, the other party’s counsel, and the court



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               reporter shall confirm receipt of the .zip file by electronic mail to counsel noticing

               the deposition. The .zip file shall be password protected, and counsel taking the

               deposition shall supply the password via electronic email immediately prior to the

               commencement of the deposition. Every recipient of a .zip file shall not open the

               .zip file until the deposition begins and when directed to do so by the counsel taking

               the deposition. If sending documents by electronic mail, counsel shall be mindful

               of file size limitations, which presumptively should be less than 50 MB.

       (c)     Counsel may introduce exhibits electronically during the deposition, by using the

               Veritext document-sharing technology, by using the screensharing technology

               within the videoconferencing platform, or by sending the exhibit to the deponent

               and all individuals on the record via electronic mail.

       16.     All deponents receiving documents before or during a remote deposition, pursuant

to Paragraph 14 above, shall return the documents to the counsel who sent them originally, within

two business days following the completion of the deposition, and shall not retain them in any

manner. Counsel noticing the deposition shall include a pre-paid return shipping label in any

package of documents mailed to a deponent.

       17.     Counsel for the Parties may keep any document or exhibit used during the remote

deposition, consistent with any protective order entered in this proceeding. Counsel for the Parties

shall return any documents not used during the remote deposition to the counsel who sent them

originally, within two business days following the completion of the deposition, and shall not retain

them in any manner.

       18.     Counsel noticing the deposition shall provide any counsel for non-party witnesses

with a copy of any protective order entered in this proceeding. Counsel for non-party witnesses



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may keep any document used during the deposition in accordance with any such protective order,

and shall return any documents not used during the deposition to the counsel who sent them

originally, within two business days following the completion of the deposition, and shall not retain

them in any manner.

       19.     The requirements of this Joint Stipulation and Order may be modified with respect

to a particular remote deposition upon written agreement of the Parties.

       20.     The Parties recognize that disputes related to this Joint Stipulation and Order, as

well as other issues regarding remote depositions, may arise from time to time. Thus, the Parties

agree to try to resolve those disputes in good faith before addressing them with the Court.




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Stipulated to:



 /s/ James E. O’Neill                              /s/ Matthew O. Talmo
 Bradford J. Sandler (Bar No. 4142)                Robert J. Dehney (Bar No. 3578)
 James E. O’Neill (Bar No. 4042)                   John DiTomo (Bar No. 4850)
 PACHULSKI STANG ZIEHL & JONES LLP                 Matthew O. Talmo (Bar No. 6333)
 919 North Market Street, 17th Floor               MORRIS NICHOLS ARSHT
 P.O. Box 8705                                     & TUNNELL LLP
 Wilmington, DE 19899                              1201 North Market Street, Suite 1600
 (302) 652-4100 (T)                                Wilmington, DE 19801
 (302) 652-4400 (F)                                (302) 658-9200 (T)
 bsandler@pszjlaw.com                              (302) 658-3989 (F)
 joneill@pszjlaw.com                               rdehney@mnat.com
                                                   jditomo@mnat.com
 -and-                                             mtalmo@mnat.com

 Eric D. Madden                                    -and-
 Gregory S. Schwegmann
 Michael J. Yoder                                  Michael A. Duffy
 REID COLLINS & TSAI LLP                           Michael C. McCutcheon
 1601 Elm Street, Suite 4200                       BAKER & McKENZIE LLP
 Dallas, TX 75201                                  300 East Randolph Street, Suite 5000
 (214) 420-8900 (T)                                Chicago, IL 60601
 (214) 420-8909 (F)                                (312) 861-8000 (T)
 emadden@reidcollins.com                           (312) 861-2899 (F)
 gschwegmann@reidcollins.com                       michael.duffy@bakermckenzie.com
 myoder@reidcollins.com                            michael.mccutcheon@bakermckenzie.com

 Counsel to UMB Bank, N.A., as Plan Trustee        Counsel to Defendants Sun Capital Partners
 of The Limited Creditors’ Liquidating Trust       V, LP, Sun MOD Fashions IV, LLC, Sun MOD
                                                   Fashions V, LLC, and HIG Sun Partners, LLC




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